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EXHIBIT 9

 

From: M Jackson

To: Anthony Eid

Cc: Marait Chadwell; Loretta Robichaud

Subject: Notice of Professionalism Hearing February 7, 2019
Date: Friday, December 14, 2018 8:30:00 AM

Mr. Eid —

On December 4, 2018 the Wayne State University Student Conduct Officer concluded her
investigation of a complaint filed against you by a former student and forwarded her report to
the School of Medicine for adjudication. Therefore, the School of Medicine Professionalism
Committee will convene on February 7, 2019 to hear your case. You will be provided the
opportunity to appear before the committee on that date. You will also be provided an
opportunity to review the documentation that will be provided to the committee prior to the
hearing. I will contact you in the new year to schedule the document review and to discuss the
hearing process. In the meantime, you are required to maintain compliance with the retaliation
policy that you reviewed and discussed with the Student Conduct Officer

Please confirm receipt of this hearing notice by replying to this email.

Thank you,

Matt Jackson, PhD

Chair, Professionalism Committee

Assistant Dean

Academic and Student Programs

Associate Professor

Dept. of Biochemistry, Microbiology, and Immunology
Wayne State School of Medicine

WSU / Eid 000362
